                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 CINEMARK HOLDINGS, INC., et al.,                §
                                                 §
          Plaintiffs,                            §
                                                 §
 v.                                              §     Civil Action No. 4:21-cv-11-ALM
                                                 §
 FACTORY MUTUAL INSURANCE                        §
 COMPANY,                                        §
                                                 §
          Defendant.                             §

           ORDER GRANTING THE PARTIES’ JOINT MOTION FOR LEAVE
                       TO EXCEED THE PAGE LIMITS

          Before the Court is the Parties’ Joint Motion for Leave to Exceed the Page Limits (the

“Motion”). In the Motion, the Parties request leave to file briefs of the following lengths:

      •   Cinemark’s Opposition to Factory Mutual’s Motion for Summary Judgment: 45 pages;

      •   FM’s Reply in Further Support of FM’s Motion for Summary Judgment: 20 pages;

      •   Cinemark’s Sur-Reply in Further Opposition to FM’s Motion for Summary Judgment:

          20 pages;

      •   Cinemark’s Reply in Further Support of Cinemark’s Motion for Partial Summary

          Judgment: 15 pages; and

      •   Factory Mutual’s Sur-Reply in Further Opposition to Cinemark’s Motion for Partial

          Summary Judgment: 15 pages.

Having considered the Motion, the Court finds the Motion should be granted.

          It is therefore ORDERED that the Parties’ Joint Motion for Leave to Exceed the

Page Limit (Dkt. #159) is GRANTED.
           Cinemark may file a brief in Opposition to FM’s Motion for Summary Judgment that

    is 45 pages in length, FM may file a Reply in Further Support of its Motion for Summary

    Judgment that is 20 pages in length, Cinemark may file a Sur-Reply in Further Opposition to

    FM’s Motion for Summary Judgment that is 20 pages in length, Cinemark may file a Reply in
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    Further Support of its Motion for Partial Summary Judgment that is 15 pages in length, and

    FM may file a Sur-Reply in Further Opposition to Cinemark’s Motion for Partial Summary

    Judgment that is 15 pages in length.

           IT IS SO ORDERED.
            SIGNED this 1st day of November, 2022.




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                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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